Case 3:20-cv-13509-GC-DEA Document 66-28 Filed 08/31/22 Page 1 of 9 PagelD: 550

Exhibit W

2684213v1
Statement AGdsie3:20-Cv-13509-GC-DEA Docurhe130662281:48 ihe 08/31/22 Page 2 of 9 PagelD: 551

Subject: Statement Available

From: Nissan Motor Acceptance Corporation <donotreplycss@nissanfinance.com>
Date: 07/23/2019, 12:06 AM

To: “amritz12 @outlook.com" <amritzi2@outlook.com>

Nissan Motor Acceptance Corporation

ar YOUR ACCOUNT ENDING: 889347(AMRSENTRA)

Paltene tateia)

reheat 3 LOGIN TO YOUR A NT

Statement Available

Dear Andrew Ritz,

Your latest statement is available for viewing online at
nissanfinance.com. You can also download and print a copy of
your detailed statement for your records.

Total Amount Due*: $181.51

Payment Due Date: 08/09/2019

*The Total Amount Due may include your current payment due,
past due payments, miscellaneous fees and/or late fees. Log on

to www.nissanfinance.com to view your statement for more
details.

Thank you for allowing NMAC to service your automotive finance
needs.

Piease note: If your obligation to pay any debt listed in
this statement has been discharged in bankruptcy, or is
presently the subject of a bankruptcy court proceeding,
bankruptcy court-approved plan or bankruptcy court
order, we are not through this communication, attempting
to collect any amounts from you as a personal liability,
and will only pursue any rights we may have in the
bankruptcy courts to the extent allowed by law.

If you choose not to receive reminder emails when your
statement is availabie, log in

to www.nissanfinance.com and change your preferences
under My Profile/Alert Notification Preferences.

For leases owned by Nissan-Infiniti LT, Nissan Motor Acceptance
Corporation acts as Servicer.

REF: STAM VareOT_ 318
CUSTOMER SERVICE LIVE CHAT NISSANUSA.COM
$00.456.6622 7AM ~ 7PM CT Mon = Fri MAINTENANCE TIPS,
7AM = 9PM CT Mon = Fri MANUALS, PARTS AND
SAM - SPM CT Sat ACCESSORIES.

Ritz 000354

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Case 3:20-cv-13509-GC-DEA Document 66-28 Filed 08/31/22 Page 3 of 9 PagelD: 552

Prse 2 OF 3 WAL PUES
(= NISSAN MOTOR ACCEPTANCE CORPORATION

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BILLING SUMMARY CONTACT US

Statement Date August 19, 2019 Lease Customer Network - 800.777.7018
Automated Response 24 hours, 7 days a week
Agents Available Manday - Friday 7am-7pm CST

Description Amount Tax Total

PRIOR § 170.23 $11.28 $ 181.51 Remit Miscellaneous Fee or Other Charges to:
BILLINGS Nissan Motor Acceptance Gosporation

BASE RENT $170.23 $ 11.28 $ 181.51 P.O, Box 660577

For additional payment information, please call Lease Customer Dallas, 1X 75266-0077

Network.

Total Amount Due: $ 363.02

Due Date: 99/09/2019

lf prier past due billing has been mailed please accept our
thanks.

YOUR ROAD
TO REWARDS.

ACCOUNT INFORMATION

Account Number: 2500 7889 347

Start Date: 05/10/2017

Monihly Rent: $ 1861.51

Current Tax Rate: 6.63 %

Vehicie Description: NISSAN SENTRA 17

Vehicle iD: 3NIABTAPIHY273133 eer ee arecees areas
Maturity Date: 08/09/2019

ce ee ae ce ee ee ene Cee nnn ae Ene EONS RAAT ASS SMM ST TARAS TST SE SS

NISSAN MOTOR ACCEPTANCE CORPORATION

Customer Name: ANDREW RITZ

Mait Monthly Payments to: 94 HALLS CROFT RD UNIT D,
Nissan Motor Acceptance FREEHOLD , NJ 077285268
Corporation Account Number: 2500 7889 347

es Payment Due By: 09/09/2019

Cincinnati, OH 45274-0596

Amount Enclosed: $

250 078 0000089347000001 0036302 0 9
Ritz 000379
eee Document-66-28 Filed 08/31/22 Page 4 of 9 PagelD: 553
* AG

Nissan Motor Acceptance Corporation

P.O Box 660360 Dallas, Texas 75266-0360 Telephone: 800 777 7018
ACCOUNT INFORMATION. 2
Statement Date: September 27, 2019
ANDREW M RITZ Due Date: 10/12/19
94 HALLS CROFT RD UNIT D Account Number: 2500 7889 347
FREEHOLD, NJ 07728-5268 Matunity Date: 05/09/19
Vehicle: 17 NISSAN SENTRA
3BN1AB7APLHY273133
ok orginal [Actual Terms) 24/29 SQ DH /2T
Allowed / Actual Mileage: 36278 / 32500 e244 Mow
+ Mees ExT
END OF LEASE LIABILITY STATEMENT
SUMMARY OF CHARGES ae
Unsatisfied Contract Obligation .
Term Tax Have Questions? _

Remaining Rents Bue a \ t

ate ChargesDua) «= M=Vce, ANYTHING C.08) Call us at 800.778.4211
Luxury Tax { AT.

Excess Mileage Charge a

Excess Wear and Use*

Tax on Excess Wear & Use/ Mileage at (6.625%)
@ | Miscellaneous Charges

For leases owned by Nissan-Infiniti LT, Nissan Motor
Acceptance Corporation acts as Servicer.

Property Tax

Disposition Fee 395.00
Disposition Fee Tax 26.17
Repossession Fee

GROSS LIABILITY 430.25

Payments Reversed
Payments Received
Misc Credits Received
Security Deposit
Previously Refunded
NET LIABILITY $ 430.25

* Please note the itemization of wear and use is on the back, f applicable. if you purchased a protection product, please contact
your provider to start your claim. Refer to your contract package received at inception for cantact information and details.

wa dee cence een eee eee n ee nee ner e td edad eee a ance neee nee mae ceases deed bse dbbeeennsaeeseneeranehadsdgausnanasssereanerrorerccanrassatnersssaagearas O37 3d 11985001769 003065 08002/06003 --

Remit this portion with your payment

: ‘You may Hor BS lable far tne renasining debt of the debt Eas been or will be discharged in bankruptcy. If you filed for baniguptcy relief, then this
notice is for informational purpeses only and should net be treated 2s a request for payment.

| REMITTANCE

ANDREW M RITZ Date September 27, 2019
94 HALLS CROFT RD UNIT D Lease # 2500 7889 347
FREEHOLD, NJ 07728-5268 Amount Due $ 430.25
Due Date 10/12/19
MAIL TO | Amount Enclosed: $ =

CI Changes?
If you are making changes to your address, check

m0 the box at left and complete the aaa side.
MAIL MONA PMIS TO AADZE
DeeMebgefaMye De peanneen Sat Ugh Legend ey dee eget gL ft aAll : ANDLESS

CU MONTY BILLING SUMMARN STMT.
2500780000089347000001004302501 Age, ondary 16

Nissan Motor Acceptance Corporation
P.O. Box 740596
Cincinnati, OH 45274-0596
TransUniofr 2SE 3:20-Cv-13509-GC-DEA Document 66-28 Filed QRhedLeee unAGRor GARAGE kes Rr&tipation/sh.

zofs

CONSUMER STATEMENT

UPDATE REQUESTED:

Add Statement:

Nissan-infiniti: orig leased veh contract maturity 05/09/2019, Nissan granted extension new mat 08/09/2019. Veh returned
want to accept veh. Pointed out to dealer that lease extension agreement contains language that veh must be returned no |
date. Dealer refused to accept return since no appt. Left both keys with dealer and the leased vehicle on dealer tot. Surren
Freehold office same day 08/09/2019. Have letter from Nissan-infiniti dated July 31, 2019 stating all 27 payments under ori
received as of June t9, 2019, with none owing. All pmts by check and processed checks available. AIM lease inspection shov
lease-end liabitity stmt to be received 4-6 weeks after lease maturity.

Update Expiration Date:

03/31/2029

25007 88****

investigate Accuracy:

The balance and/or past due amount are/is incorrect
The payment history/rating is incorrect

Additional Comments:

Orig lease mat: 05/09/2019 Lease extend new mat 08/09/2019. Leased vehicle returned 08/
9 N, Freehold, NJ 07728. NJ plates to NJIMVC Freehold 08/09/2019. Await tease end stmt.

Upload Attachments

1. You may upload supporting documents related to any items under investigation. Fi
Once you have located a file, click ADD FILE button.

Note: The total size of all attachments may not exceed 5 megabytes. Acceptable file
and we cannot accept compressed or password-protected files.

2. When youre finished selecting all files, click Submit, This will submit your investis
to TransUnion. To cancel and return to the Investigation Summary page, click Cancel
process, you will cancel the entire investigation and afl pending documents uploa

Ritz 000190
9/16/2019, 11:05 AM
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Nissan Motor Acceptance Corporation
PO Box 660360
Daltas, TX 75266-0360

Attention: Credit Bureau Management Dept.
November 25, 2019

via USPS Certified Mail # 7019 1120 0001 4252 4973 7019 1120 O001 4e5e@ 4973

RE: 2017 Nissan Sentra twenty-four month lease with three month extension
Vehicle ID #: 3N1AB7AP1HY273133
start date: May 10, 2017
maturity date: May 09, 2019, lease extension to August 09, 2019
account number: 2500 7889 347

To Whom It May Concern:

I've disputed NISSAN-INFINITI LT reporting with Trans Union, Experian and Equifax.
initial disputes were online. Reinvestigation requests by mail. The documentation attached
to this letter was provided along with my letter requests for dispute reinvestigation.

I've received a Nissan Motor Acceptance Corp (NMAC) letter dated 10-23-2019 (enclosed)
acknowledging my Verbal dispute (on 10-08-2019, speaking with Anna of NMAC,

confirm# 1-107188222503). Same day fax of 16 pages documents to 972-607-8973 (number
provided by Anna). The letter indicates your research of the issue and further advises that
NMAC credit reporting of one late payment “30 days late” will remain, unchanged.

| received the letter on 10-29-2019. | then contacted NMAC and spoke with Janine.
| explained that documentation had already been faxed. | told her that:
- every monthly lease payment on time; confirmed by NMAC letter dated
July 31, 2019 (see page 20) (front and back of every cleared check is available)
AIM tease inspection (two, 03-26 and 06-10-2019) were scheduled and completed
vehicle return on time and as per Lease Contract, Lease Extension Agreement
End-of-Lease liability paid on time, check clears before due date (pgs 8, 11, 21, 22)

In my discussion with Janine, | explained the difficulty in returning the vehicle to the
leasing Nissan dealership on 08-09-2019. in my opinion, car was returned in more or less
excellent condition - washed and vacuumed. After waiting for the Sales Manager to become
available, he would not allow the vehicle return because | didn't have an appointment.

| left the car on the dealership lot since the Lease Extension Agreement specifically states
(vehicle owner directs me) that vehicle must be returned no tater than 08-09-2019. Both
vehicle keys were left with the Sales Manager. New Jersey license plates FAOHWX on the
vehicle were returned to NJMVC Freehold on 08-09-2019. (see pgs 4, 14, 17)

| explained to Janine as to why the vehicle was left on the dealership lot and that |
immediately notified NMAC via website chat when | returned home:
Lease Extension Agreement states, “Your vehicle must be returned no later than
three (3} month(s) after your above-referenced original scheduled lease maturity
date.” Also, “Your new extension period will end 8/9/2019.” (see page 16.) Original
scheduled maturity 05-09-2019 is noted near to top right of this one-page document.

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Case 3:20-cv-13509-GC-DEA Document 66-28 Filed 08/31/22 Page 7 of 9 PagelD: 556

Lease Contract, “Item 12, Vehicle Return. When your Lease terminates, whether
early or as scheduled, you will return the Vehicle to a Nissan dealer or other location
we specify. You will complete a statement of this Vehicle's mileage at termination as
required by federal law...” (see page 15) No mention anywhere in Item 12 of an
appointment being required in order to return the vehicle at end of lease as Freehold
Nissan's Sales Manager insists. As well, there is no mention in the Lease Extension
Agreement. (see page 16). Explained to NMAC via Chat on 09-26-2019 (see page 17).
NMAC was notified by me via Chat on 08-09-2019 of what had occurred in trying to
return the vehicle. In this Chat, | wrote that, “The vehicle was left, without license
plates, at the Freehold Nissan dealership, Route 9, Freehold, in the dealerships lot
next to sales.” The representative subsequently wrote, “I'm submitting a complaint,
notating that you returned the vehicle and putting the preliminary grounding, but at
this time that is alt that | can do.” Also, “You will receive the final liability statement
in 4-6 weeks with the disposition fee on it.” (see page 4). | believe my responsibility
was fulfilled at this point, per written agreements. Nissan should have sent someone
to ascertain that the vehicle (their property) was in fact where | wrote that it was,
its mileage and condition.

Regarding Janine suggesting NOT leaving the vehicle in dealership lot and phoning NMAC:
Contained in a legally binding agreement in writing, the owner, Nissan-Infiniti, states
that | must return the vehicle by 08-09-2019. This also reiterated in Chat by NMAC
(see page 19). | had no written nor verbal permission from the owner to keep the
car past 08-09-2019. As such, on 08-10-2019 comes possibility the vehicle could be
repossessed; or worse, vehicle towed at any time as result of vehicle stop by police.

- {did in fact contact NMAC by chat, in writing, 08-09-2019 (same day) to explain what
had occurred at Freehold Nissan more or less one hour previous. | wasn't told to go
back and get the vehicle off of the lot.

Likely, | would have owed an immediate, additional monthly lease payment
to 09-09-2019 that | wasn't willing to be obligated to.
Likely too, | would have had to complete yet another AIM vehicle inspection.

The vehicle was finally “grounded” by Freehold Nissan with a date of 09-20-2019, officially
retumed as noted in a letter from Freehold Nissan to NMAC (see page 14). | believe this
may ultimately be causing the incorrect reporting of a “30 days late” payment. The
“grounding” date should be 08-09-2019, the on time date | actually returned the vehicle.

I'm puzzled by NMAC’s continued insistence of my being late with anything regarding my
Nissan vehicle lease. It has caused my 800+ FICO score before NMAC late reporting to drop
to just over 700 after. NMAC is the only negative entry to my credit report. Waiting for this
issue to be resolved before applying for credit is in my best interest. NMAC has recently
changed their reporting of month 08-2019 (previously “30 days late” to now “OK”) and
added 09-2079 (“30 days late”). Puzzled especially, as | continue to privide the explanation
above and documentation of it. Much of this documentation is in NMAC’s own possession.

Please review and report my NISSAN-INFINITI LT vehicle lease account accurately.

Sincerely,

Andrew Ritz my total costs todate: 77.36
94 Halls Croft Road, Unit D photocopies 19.44
Freehold, NJ 07728 certfied mail 21.15
home tel/fax: 732-294-8625 mileage 36.77

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Case 3:20-cv-13509-GC-DEA DocumenfreAgas Filed 08/31/22 Page 8 of 9 PagelD: 557

Lt Nissan Motor Acceptance Corporation 7

PO Box $60350
i Dallas, Texas 75266-3360

Telepnone 896 777 70°38

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>0036b3 3494590 O01 0081449
ANDREW RITZ
94 HALLS CROFT RD UNIT D

_ FREEHOLD NJ 077285268

October 23, 2019

Re Account Number: 25007889347

Dear ANDREW RIT2:

Thank you for contacting Nissan Motor Acceptance Corporation (NMAC). On 9/26/2619 we received your Verbal
dispute

Our research indicates that the information we have furnished to the credit reporting agencies regarding this
account is accurate. We will not be revising the reporting per your request. It is not at our discretion to alter your
credit file, regardiess of explanation, if the reporting reflects how the account was actually paid. The credit reporting
agencies offer the opportunity to add, te your credit record, an explanation of your specific reasons for potential
creditors to review,

Listed below is a credit rating on the above-referenced account.

Account Status: Closed
Open Date: 5/10/2017
Closed Date: 10/8/2019
Monthly Due Date: 9/25/2019
Monthly Payment Amount $181.51
Original Amount Financed: $4,356.24
Balance Remaining: $0.00
Buyer: ANDREW M RITZ
Co-buyer: MICHAEL RITZ
Payment History: 1X30- 08/09/19
OoX60-
Ox9o-

If you disagree with our findings, please mail supporting documentation to the following address:

Nissan Motor Acceptance Corporation
Attention: Credit Bureau Management Dept
PO Box 660360

Dallas, TX 75266-0360

In accordance with the Fair Credit Reporting Act (FCRA}, Nissan Motor Acceptance Corporation is committed to
furnishing accurate account information to the credit reporting agencies te which it subscribes (Experian, Equifax, and
TransUnion).

If you have any questions about the above information please contact customer service at 800.777.7018 from 7:00
A.M. to 7.00 PM, CST, Monday through Friday and 8:00 A.M, to 5:00 P.M, CST on Saturday.

Sincerely,

Credit Bureau Management Team
Nissan Motor Accaptance Corporation

Dallas Customer Service Center

For leases owned by Nissan Infiniti LT, Nissan Motor Acceptance Corporation acts as administrator.

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NISSAN MOTOR ACCEPTANCE CORPORATION

8900 Freeport Parkway
Irving, Texas 75063-2438

a Mailing Address: P.O. Box 660360
Dallas, Texas 75266-0360

December 19, 2019

ANDREW RITZ
94 HALLS CROFT ROAD, UNIT D
FREEHOLD, NJ 07728

Dear ANDREW RITZ:

RE: Account Number: 25007889347

Nissan Motor Acceptance Corporation (NMAC) received your letter wherein you
disputed negative information appearing on your credit bureau report, or requested
validation of your debt.

NMAC records indicate we previously investigated your account and responded to
your concerns on 10/22/19. NMAC determined your account is reporting accurately
and our position remains unchanged.

For further consideration, please mail any additional supporting information and
documentation to the following address:

Nissan Motor Acceptance Corporation
Attention:

P.O. Box 660360

Dallas, TX 75266-0360

Thank you,

Credit Bureau Management Team
Nissan Motor Acceptance Corporation

Ritz 000227
